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NOT FOR PUBLICATION

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 EDWARD G. PETRAGLIA,

          Plaintiff,

    v.

 U.S. BANK, N.A., in its direct capacity as a
 debt collector; SELECT PORTFOLIO                                 Civ. No. 17-6325
 SERVICING, INC., in its direct capacity as a
 debt collector, and as agent for U.S. Bank,
 N.A.; MILSTEAD & ASSOCIATES, INC., in
 its direct capacity as a debt collector;                         ORDER
 GREGORY J. TENCZA; 314 ATLANTIC
 AVENUE – SPRING LAKE, LLC; ABC
 CORP. DEFENDANTS I – X; and JOHN
 DOE DEFENDANTS I – X,

          Defendants.

 GREGORY J. TENCZA and 314 ATLANTIC
 AVENUE – SPRING LAKE LLC,

          Counterclaimants,

    v.

 EDWARD G. PETRAGLIA,

          Counter Defendant.

THOMPSON, U.S.D.J.

         In view of this Court’s letter to all parties on February 26, 2018 (ECF No. 59) and Order

dated March 15, 2018 (ECF No. 69), the Court reiterates that the still-pending Counterclaim (see

ECF No. 16) and attendant Motion for Default Judgment thereon (ECF No. 50) are STAYED

pursuant to 11 U.S.C. § 362(a)(1), an automatic bankruptcy stay; therefore,
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       IT IS on this 2nd day of August, 2018,

       ORDERED that this matter is ADMINISTRATIVELY TERMINATED, without

prejudice and without costs; and it is further

       ORDERED that the parties may formally reopen this case after the bankruptcy is

resolved or the automatic bankruptcy stay is lifted by filing a letter with the Court seeking to

reopen the case.



                                                                   /s/ Anne E. Thompson
                                                              ANNE E. THOMPSON, U.S.D.J.
